Case 2:10-md-02179-CJB-DPC Document 59-2 Filed 08/23/10 Page 1of 3

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

*
IN RE: OIL SPILL by the OIL RIG * MDL No. 2179
"DEEPWATER HORIZON" in the *
GULF OF MEXICO, on April 20, 2010 *
* Section "J"
oe
This Document Relates to: Civil No. 2:10-cv-01497, *
Gulf Restoration Network, et al. v. Salazar, et al. * Judge Barbier
* Mag. Judge Shushan
*

KKK RR KK KR KR KOK KR RK KK KR KOK OK KK OK KR KOK

NOTICE OF HEARING ON MOTION OF THE AMERICAN PETROLEUM
INSTITUTE, INDEPENDENT PETROLEUM ASSOCIATION OF AMERICA, US OIL &
GAS ASSOCIATION, AND INTERNATIONAL ASSOCIATION OF DRILLING
CONTRACTORS TO DECONSOLIDATE CIVIL NO. 2:10-CV-01497
AND TRANSFER THE CASE TO ITS ORIGINAL JUDGE

PLEASE TAKE NOTICE that Intervenors’ American Petroleum Institute,
Independent Petroleum Association of America, US Oil & Gas Association, and International
Association of Drilling Contractors' motion to deconsolidate Civil No. 2:10-cv-01497 from MDL

No. 2179 and transfer the case back to Judge Engelhardt will be heard in the United States

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District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana,

before the Honorable Judge Barbier, on September 15, 2010, at 9:30 a.m.

Respectfully submitted,

/s/John W. Joyce

Judy Y. Barrasso, 2814

John W. Joyce, 27525

Andrea Mahady Price, 30160

Barrasso Usdin Kupperman
Freeman & Sarver, L.L.C.

909 Poydras Street, 24th Floor

New Orleans, Louisiana 70112

Telephone: (504) 589-9720

Facsimile: (504) 589-9701

JBarrasso@barrassousdin.com

jjoyce@barrassousdin.com

aprice@barrassousdin.com

Steven J. Rosenbaum
COVINGTON & BURLING LLP
1201 Pennsylvania Avenue N.W.
Washington, D.C. 20004
Telephone: (202) 662-5568
Facsimile: (202) 778-5568
srosenbaum@cov.com

Counsel for Defendant-Intervenors
American Petroleum Institute, Independent
Petroleum Association of America, US Oil
& Gas Association, and International
Association of Drilling Contractors

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CERTIFICATE OF SERVICE

[hereby certify that on this 23rd day of August 2010, the foregoing Notice of Hearing on
Motion of Intervenors' to Deconsolidate Civil No. 2:10-CV-01497 and Transfer the Case to Its
Original Judge was filed via the Court's CM/ECF system and served via the Court's CM/ECF

system, upon all counsel of record.

/s/John W. Joyce

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